36 F.3d 1095
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Jerry Wayne WHITAKER, Defendant Appellant.
    No. 94-6046.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 28, 1994.Decided September 26, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CR-89-33-R, CA-92-819-R)
      Jerry Wayne Whitaker, appellant pro se.
      Karen Breeding Peters, Asst. U.S. Atty., Roanoke, VA, for appellee.
      W.D.Va.
      AFFIRMED.
      Before HALL, MURNAGHAN, and WILKINSON, Circuit Judges.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Whitaker, Nos.  CR-89-33-R, CA-92-819-R (W.D.Va. Dec. 14, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    